       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 1 of 50




                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

  GREGORY L DASHIELL, JR.,

          Plaintiff,

  v.                                                      Case No. 4:21-CV-03153

  GC SERVICES LIMITED
  PARTNERSHIP,

          Defendant.


           DEFENDANT GC SERVICES LIMITED PARTNERSHIP’S MOTION
           FOR JUDGMENT ON THE PLEADINGS AND BRIEF IN SUPPORT

        Defendant, GC Services Limited Partnership (“GC Services” or “Defendant”), respectfully

moves for partial judgment on the pleadings and submits this Brief in Support thereof, pursuant to

Fed.R.Civ.P. 12(c).

                                                   Submitted by:


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                                                   GC SERVICES LIMITED PARTNERSHIP
       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 2 of 50




                                                    TABLE OF CONTENTS

I.      Introduction ......................................................................................................................... 1

II.     Facts and Procedural History .............................................................................................. 2

III.    Argument ............................................................................................................................. 3

        A.          Legal Standards ........................................................................................................3

        B.          The Statutory Language of the FDCPA Dictates That the Conduct Alleged Here is
                    Not a Violation of the FDCPA.................................................................................4

                    1. Defendant Did Not Engage in a Communication as it is Defined in the FDCPA
                    ..................................................................................................................................5

                    2. Defendant's Contacts with its Vendors are not "in connection with the collection
                    of a Debt." ................................................................................................................9

                    3. The Supreme Court of the United States Implicitly Held that the Use of Letter
                    Vendors is Not a Violation of the FDCPA" ...........................................................14

                    4. Plaintiff's Interpretation of the FDCPA Does Not Advance the Plain Purpose of
                    the Statute...............................................................................................................16

                    5. The Colorado Supreme Court Held that Use of Mail vendors Do Not Violate
                    FDCPA...................................................................................................................17

        C.          Principles of Agency Law Indicate Letter Vendors are Not a "Third Party" under
                    the FDCPA .............................................................................................................19

        D.          Plaintiff's Reading of the FDCPA, if Enforced, Violates the First Amendment. ..22

                    1. Interpreting the FDCPA to Prohibit the Use of Mail Vendors is a Content-Based
                    Restriction on Protected Speech and is Subject to Strict Scrutiny.........................22

                    2. Plaintiff's Reading of the FDCPA Violates the First Amendment Under
                    Intermediate Scrutiny. ............................................................................................26

                    3. This Court Should Follow the Canon of Constitutional Avoidance by Interpreting
                    Section 1692c(b) in a way that Does Not Violate the Constitution. ......................28

        E.          This Court Should Defer to the Interpretations of the Agencies Authorized to
                    Regulate and Enforce the FDCPA. ........................................................................29

                    1. The Consumer Financial Protection Bureau Has Performed Oversight on Debt
                    Collectors and Has Not Found These Contacts in Violation with the Law. ..........29

                                                                         i
       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 3 of 50




                     2. The CFPB Explicitly Authorized the Use of LEtter Vendors in Finalizing
                     Regulation F, 12 C.F.R. Part 1006. ........................................................................30

                     3. The Federal Trade Commission Similarly Has Not Found that the Use of Vendors
                     Violates the FDCPA. .............................................................................................32

                     4. This Court Should Employ Deference to the CFPB and FTC in Holding these
                     Contacts to be Permissible. ....................................................................................33

          F.         Plaintiff's Interpretation of the FDCPA Would Have Disastrous Policy Implications
                     ................................................................................................................................34

IV.       Conclusion .........................................................................................................................40

                                                 TABLE OF AUTHORITIES

Cases
Acosta v. Campbell,
309 F. App’x 315 (11th Cir. 2009) ................................................................................................. 8
Alfaro-Huitron v. Cervantes Agribusiness,
982 F.3d 1242 (10th Cir. 2020) .................................................................................................... 20
Arkansas Writers’ Project, Inc. v. Ragland,
481 U.S. 221 (1987) ...................................................................................................................... 25
Arzlozynski v. Rubin & Debski, P.A.,
710 F. Supp. 2d 1308 (M.D. Fla. 2010) ........................................................................................ 21
Ashcroft v. Iqbal,
556 U.S. 662, 129 S. Ct. 1937, 173 L. Ed.2d 868 (2009) ........................................................... 3, 4
Baltimore & Ohio R.R. v. Baugh,
149 U.S. 368 (1893) ...................................................................................................................... 21
Barbato v. Greystone All., LLC,
916 F.3d 260 (3d Cir. 2019).......................................................................................................... 20
Barr v. American Association of Political Consultants,
140 S. Ct. (2020) ........................................................................................................ 23, 24, 25, 26
Bell Atl. Corp. v. Twombly,
550 U.S. 544 (2007) ........................................................................................................................ 3
Bob Jones Univ. v. United States,
461 U.S. 574 (1983) ...................................................................................................................... 16


                                                                         ii
       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 4 of 50




Bodur v. Palisades Collection, LLC,
829 F. Supp. 2d 246 (S.D.N.Y. 2011)........................................................................................... 22
Bohringer v. Bayview Loan Servicing, LLC,
141 F. Supp. 3d 1229 (S.D. Fla. 2015) ................................................................................... 12, 16
Bolger v. Youngs Drug Prods. Corp.,
463 U.S. 60 (1983) ........................................................................................................................ 24
Caceres v. McCalla Raymer, LLC,
755 F.3d 1299 (11th Cir. 2014) .............................................................................................. 28, 39
Central Hudson Gas & Elec. Corp. v. Public Serv. Comm’n,
447 U.S. 557 (1980) .......................................................................................................... 23, 26, 27
Chalkley v. Atlantic Coast Line R. Co.,
150 Va. 301, 143 S. E. 631 (1928)................................................................................................ 15
Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,
467 U.S. 837 (1984) ...................................................................................................................... 34
Connecticut Nat. Bank v. Germain,
503 U.S. 249 (1992) ........................................................................................................................ 6
DeFazio v. Leading Edge Recovery Solutions, LLC,
No. 2:10–cv–02945-WJM-MF, 2010 WL 5146765 (D.N.J. Dec. 13, 2010) ................................ 22
DelRio-Mocci v. Connolly Properties Inc.,
672 F.3d 241 (3d Cir. 2012)............................................................................................................ 5
Dennis v. Niagara Credit Solutions, Inc.,
946 F.3d 368 (7th Cir. 2019) .......................................................................................................... 3
Dolan v. U.S. Postal Serv.,
546 U.S. 481 (2006) ...................................................................................................................... 16
Duke Energy Corp.,
549 U.S. 561 (2007) ...................................................................................................................... 10
Dunbar v. Kohn Law Firm,
896 F.3d 762 (7th Cir. 2018) .......................................................................................................... 4
Dunn v. Glob. Tr. Mgmt., LLC,
506 F. Supp. 3d 1214 (M.D. Fla. 2020) ........................................................................................ 13
Farquharson v. Citibank, N.A.,
664 F. App’x 793 (11th Cir. 2016) ............................................................................................... 12
Flood v. Mercantile Adjustment Bureau,
176 P.3d 769 (Colo. 2008) ................................................................................................ 17, 18, 19
                                                                     iii
       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 5 of 50




Fox v. Citicorp Credit Servs., Inc.,
15 F.3d 1507 (9th Cir. 1994) ........................................................................................................ 22
Gomez v. Campbell-Ewald Co.,
768 F.3d 871 (9th Cir. 2014) ........................................................................................................ 20
Gomez v. United States,
490 U.S. 858 (1989) ...................................................................................................................... 28
Goodin v. Bank of Am., N.A.,
114 F. Supp. 3d 1197 (M.D. Fla. 2015) ........................................................................................ 13
Goodson v. Bank of Am., N.A.,
600 F. App’x 422 (6th Cir. 2015) ........................................................................................... 12, 40
Grden v. Leikin Ingber & Winters PC,
643 F.3d 169 (6th Cir. 2011) ........................................................................................................ 13
Gully v. Van Ru Credit Corp.,
381 F. Supp. 2d 766 (N.D. Ill. 2005) .............................................................................................. 4
Harrell v. Reynolds Metals Co.,
495 So. 2d 1381 (Ala. 1986) ......................................................................................................... 20
Heinz v. Carrington Mortg. Servs., LLC,
3 F.4th 1107 (8th Cir. 2021) ......................................................................................................... 10
Huebner v. Midland Credit Mgmt., Inc.,
85 F. Supp. 3d 672 (E.D.N.Y. 2015) ............................................................................................ 39
Hunstein v. Preferred Collection & Mgmt. Servs., Inc.,
No. 8:19-CV-983-T-60SPF, 2019 WL 5578878 (M.D. Fla. Oct. 29, 2019)…. .... 1, 15, 27, 32, 35,
37, 39, 40
I.N.S. v. St. Cyr,
533 U.S. 289 (2001) ...................................................................................................................... 28
Imbler v. Pachtman,
424 U.S. 409 (1976) ...................................................................................................................... 17
In re FDCPA Mailing Vendor Cases,
2021 WL 3160794 (E.D.N.Y. July 23, 2021) ......................................................................... 38, 39
Int’l Outdoor, Inc. v. City of Troy, Michigan,
974 F.3d. 690 (6th Cir. 2020) ....................................................................................................... 25
Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA,
559 U.S. 573 (2010) ...................................................................................................................... 38


                                                                     iv
       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 6 of 50




Jones v. Federated Fin. Rsrv. Corp.,
144 F.3d 961 (6th Cir. 1998) ........................................................................................................ 20
Kinlock v. Wells Fargo Bank, N.A.,
636 F. App’x 785 (11th Cir. 2016) ............................................................................................... 12
LeBlanc v. Unifund CCR Partners,
601 F.3d 1185 (11th Cir. 2010) .................................................................................................... 22
Lodholtz v. York Risk Services Group Inc.,
778 F.3d 635 (7th Cir. 2015) .......................................................................................................... 3
Mack v. Delta Air Lines, Inc.,
639 Fed. Appx. 582 (CA11 2016) ................................................................................................ 15
Market Co. v. Hoffman,
101 U.S. 112 (1879) ........................................................................................................................ 5
Martsolf v. JBC Legal Grp., P.C.,
No. 1:04–CV–1346, 2008 WL 275719 (M.D. Pa. Jan. 30, 2008) ................................................ 22
McCullen v. Coakley,
573 U.S. 464 (2014) ...................................................................................................................... 24
McIvor v. Credit Control Servs., Inc.,
773 F.3d 909 (8th Cir. 2014) ........................................................................................................ 13
Midland Funding, LLC v. Johnson,
137 S. Ct. 1407, 197 L. Ed. 2d 790 (2017) ..................................................................................... 3
National Institute of Family and Life Advocates v. Becerra,
138 S. Ct. 2361, 201 L. Ed.2d 835 (2018) .................................................................................... 23
Nielsen v. Preap,
139 S. Ct. 954 (2019) ...................................................................................................................... 5
Ostrowe v. Lee,
256 N. Y. 36, 175 N. E. 505 (1931) .............................................................................................. 15
Otto v. City of Boca Raton, Fla.,
981 F.3d 854 (11th Cir. 2020) ...................................................................................................... 25
Penn v. Cumberland,
883 F. Supp. 2d 581 (E.D. Va. 2012) ........................................................................................... 13
Police Dept. of Chicago v. Mosley,
408 U.S. 92, 92 S. Ct. 2286 (1972) ............................................................................................... 23
Pollice v. Nat'l Tax Funding, L.P.,
225 F.3d 379 (3d Cir. 2000).......................................................................................................... 22
                                                                      v
       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 7 of 50




Reed v. Town of Gilbert, Ariz.,
576 U.S. 155 (2015) ...................................................................................................................... 24
Sable Communications of Cal. v. FCC,
492 U.S. 115 (1989) ...................................................................................................................... 25
Sargeant v. Hall,
951 F.3d 1280 (11th Cir. 2020) .................................................................................................... 10
Skidmore v. Swift & Co.,
323 U.S. 134 (1944) ...................................................................................................................... 34
Sorrell v. IMS Health Inc.,
564 U.S. 552 (2011) ...................................................................................................................... 24
Spiegel v. Kim,
952 F.3d 844 (7th Cir. 2020) .......................................................................................................... 3
St. John v. Cach, LLC,
822 F.3d 388 (7th Cir. 2016) .......................................................................................................... 4
Strand v. Diversified Collection Service, Inc.,
380 F.3d 316 (8th Cir. 2004) ........................................................................................................ 17
Suquilanda v. Cohen & Slamowitz, LLP,
No. 10 Civ. 5868 PKC, 2011 WL 4344044 (S.D.N.Y. Sept 8, 2011) .......................................... 22
Thompson v. W. States Med. Ctr.,
535 U.S. 357, (2002) ..................................................................................................................... 26
TransUnion, LLC. v. Ramirez,
141 S. Ct. 2190 (2021) ........................................................................................................ 1, 14, 15
Turner v. Asset Acceptance, LLC,
302 F. Supp. 2d 56 (E.D.N.Y. 2004) ............................................................................................ 38
UniStrip Techs., LLC v. LifeScan, Inc.,
153 F. Supp. 3d 728 (E.D. Pa. 2015) .............................................................................................. 4
United States v. Campos–Serrano,
404 U.S. 293 ................................................................................................................................... 5
United States v. Canals–Jimenez,
943 F.2d 1284 (11th Cir. 1991) .................................................................................................. 5, 6
United States v. Mead Corp.,
533 U.S. 218 (2001) ...................................................................................................................... 34
United States v. Schaltenbrand,
930 F.2d 1554 (11th Cir. 1991) .................................................................................................... 20
                                                                       vi
       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 8 of 50




United Statesnitedtates ex rel. Attorney General v. Delaware & Hudson Co.,
213 U.S. 366 (1909) ...................................................................................................................... 28
Virginia State Bd. of Pharmacy Bd. v. Virginia Citizens Consumer Council, Inc.,
425 U.S. 748 (1976) ...................................................................................................................... 23
Walters v. Metro. Educ. Enters., Inc.,
519 U.S. 202 (1997) ........................................................................................................................ 6
West v. Costen,
558 F. Supp. 564 (W.D. Va. 1983) ............................................................................................... 18
White v. Goodman,
200 F.3d 1016 (7th Cir. 2000) ...................................................................................................... 22
Zortman v. J.C. Christensen & Assocs., Inc.,
870 F. Supp. 2d 694 (D. Minn. 2012) ............................................................................................. 9
Statutes
12 U.S.C. § 5511(a) ...................................................................................................................... 29
15 U.S.C. § 1692 ......................................................................................................................... 1, 4
15 U.S.C. § 1692a ................................................................................................................. 5, 7, 21
15 U.S.C. § 1692b ..................................................................................................................... 7, 10
15 U.S.C. § 1692c ......................................................................................................... 3, 4, 5, 9, 10
§ 1692f(7).................................................................................................................................. 7, 10
15 U.S.C. § 1692k(a)(1), (2)(A) ................................................................................................... 38
47 U.S.C. § 227 ............................................................................................................................. 24
50 U.S.C. § 3931 ............................................................................................................................. 8
Cal. Civ. Code § 1788.12(e) ......................................................................................................... 29
Fla. Stat. § 559.72(5)..................................................................................................................... 29
Iowa Code § 537.7103(3)(a)(2) .................................................................................................... 29
Md. Code, Commercial Law, § 14-202 ........................................................................................ 29
U.S. Const., amend. I .................................................................................................................... 23
Wis. Stat. § 427.104(1)(e) ............................................................................................................. 29
Rules
Fed. R. Civ. P. 12(b)(6)................................................................................................................... 3
                                                                       vii
        Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 9 of 50




Fed.R.Civ.P. 12(c) ...................................................................................................................... 1, 3
Regulations
12 C.F.R. Part 1006.................................................................................................................... i, 30
12 C.F.R. § 1006.34(c)(4)(iii) ....................................................................................................... 31
12 C.F.R. §§ 1016.10, 1016.13 ..................................................................................................... 27
45 C.F.R. § 164.502 ...................................................................................................................... 37
45 C.F.R. § 164.506 ...................................................................................................................... 27
Debt Collection Practices (Regulation F),
84 FR 23274.................................................................................................................................. 35
Debt Collection Practices (Regulation F),
85 FR 76734-01 (Nov. 30, 2020) .................................................................................................. 32
Debt Collection Practices (Regulation F),
86 FR 5766 (January 19, 2021) .............................................................................................. 31, 32
Statements of General Policy or Interpretation Staff Commentary On the Fair Debt Collection
Practices Act, 53 FR 50097-02, 1988 WL 269068 (F.R. 1988................................................. 9, 33
Other Authorities
2021 Nacha Operating Guidelines ................................................................................................ 36

2A C.J.S. Agency § 1 .................................................................................................................... 20
CFPB Compliance Bulletin and Policy Guide; 2016-02, available at
  https://files.consumerfinance.gov/f/documents/102016_cfpb_OfficialGuidanceServiceProvider
  Bulletin.pdf (last downloaded August 18, 2021). ................................................................... 30

CFPB Supervision and Exam Manual at 299 (Sept. 2020), available at
  https://files.consumerfinance.gov/f/documents/cfpb_supervision-and-examination-manual.pdf
  ................................................................................................................................................... 30

Fed. Reserve Bank of N.Y., Staff Report No. 814 (May 2017).................................................... 37

FTC Opinion, LeFevre to Zbrzeznj (Sept. 21, 1992) .................................................................... 33

Fletcher, Cyclopedia of the Law of Private Corporations § 30 (Sept. 2020)................................ 21
Restatement (Second) of Agency § 1(1) ....................................................................................... 20
Restatement (Third) of Agency 1.01 ............................................................................................ 21
Restatement of Torts §559 ............................................................................................................ 15
                                                                         viii
     Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 10 of 50




Sen. Rep. No. 95-382, Cong. Record, Vol. 123 (1977) ................................................................ 16




                                                          ix
     Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 11 of 50




         DEFENDANT GC SERVICES LIMITED PARTNERSHIP’S BRIEF IN
     SUPPORT OF ITS MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS

        Defendant, GC Services Limited Partnership (“Defendant”), by and through its

undersigned counsel, submits this Brief in Support of its Motion for Judgment on the Pleadings

under Fed. R. Civ. P. 12(c). For all of the reasons expressed below, this Court should grant

Defendant’s Motion for Partial Judgment on the Pleadings and reject Plaintiff Gregory L.

Dashiell’s (“Plaintiff”) claims under 15 U.S.C. § 1692c(b) of the Fair Debt Collection Practices

Act, (“FDCPA”).

I.      INTRODUCTION

        Plaintiff’s Complaint asks this Court to ignore both the plain language and explicit purpose

of the FDCPA and instead find liability against Defendant for the innocuous use of a letter vendor

for the purpose of facilitating communications between Defendant and Plaintiff. A review of the

language and purpose of the FDCPA reveals that the type of conduct complained of – namely the

innocuous use of a letter vendor for the sole purpose of facilitating the sending of letters from

Defendant to Plaintiff – is not a “communication” or “in connection with the collection of a debt”

as those terms as contemplated by the statute. This is clearly indicated by the United States

Supreme Court in the recent case of TransUnion, LLC. v. Ramirez, 141 S. Ct. 2190 (2021).

Moreover, there is nothing abusive – either explicitly or implicitly – about Defendant’s practice of

using a letter vendor. The purpose of the FDCPA is simply not advanced, and is in fact diminished,

by the interpretation of the statute that Plaintiff puts forth. Similarly, agency principles dictate that

the conduct of Defendant is not violative and is instead merely Defendant using its own agent to

help facilitate communication to Plaintiff.



                                                   1
      Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 12 of 50




        Constitutional concerns also dictate that Plaintiff’s claim under Section 1692c(b) must be

dismissed. Plaintiff’s position, if accepted, violates the First Amendment as an unconstitutional

content-based restriction on protected speech.

        Recognizing that the use of letter vendors is appropriate, the federal agencies tasked with

regulating the debt collection industry have taken no issue – and instead explicitly encourage – the

use of letter vendors.     Here too, this Honorable Court should reject Plaintiff’s attempt to

manufacture liability and hold that the use of letter vendors is not violative of the FDCPA. As

such, Defendant respectfully requests that its Motion for Partial Judgment on the Pleadings be

granted, and Plaintiff’s claim under 15 U.S.C. § 1692c(b) of the Fair Debt Collection Practices Act

be dismissed, with prejudice.

II.     FACTS AND PROCEDURAL HISTORY

        Plaintiff filed his Complaint on September 28, 2021. (Doc. 1). Among other allegations,

Plaintiff generally asserts that Defendant violated Section 1692c(b) of the FDCPA because

“Defendant mailed Plaintiff a letter in an attempt to collect the subject debt (‘Defendant’s Letter’),”

which was “prepared and issued by a third-party vendor…” and “by hiring a third-party vendor to

issue Defendant’s Letter, Defendant unlawfully disclosed to the third-party that Plaintiff allegedly

owed the subject debt.” (Doc. 1 at 2-4, ¶¶ 19, 29, and 33). Plaintiff alleges that Defendant thus

violated 15 U.S.C. § 1692c(b), which prohibits a debt collector from communicating, in connection

with the collection of a debt, with anyone other than the debtor. (Doc. 1 at 4-7, ¶¶ 38-43, 53-57).

        Defendant filed its Answer on November 11, 2021. (Doc. 12). Defendant now files the

instant Motion for Partial Judgment on the Pleadings, respectfully asking for dismissal of

Plaintiff’s claim under 15 U.S.C. § 1692c(b) of the Fair Debt Collection Practices Act, with

prejudice.

                                                  2
       Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 13 of 50




III.     ARGUMENT

         A.     Legal Standards

         Motions for judgment on the pleadings under Fed. R. Civ. P. 12(c) share the same standard

of review as motions to dismiss under Fed. R. Civ. P. 12(b)(6). Lodholtz v. York Risk Services

Group Inc., 778 F.3d 635, 639 (7th Cir. 2015). Under Fed. R. Civ. P. 12(b)(6), “to survive a

motion to dismiss . . . a complaint must ‘state a claim to relief that is plausible on its face.’” Id.

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Further:

                A claim has facial plausibility when the plaintiff pleads factual content that allows
                the court to draw the reasonable inference that the defendant is liable for the
                misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L.
                Ed.2d 868 (2009). Although we draw all reasonable inferences and facts in favor
                of the nonmovant, we need not accept as true any legal assertions.
Id. See also Spiegel v. Kim, 952 F.3d 844 (7th Cir. 2020), cert. denied sub nom. Spiegal v. Kim,

141 S. Ct. 369 (2020) (affirming judgment on the pleadings on a claim for violation of the

FDCPA.1) The standard under Fed. R. Civ. P. 12(b)(6) “establishes that ‘threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements do not suffice[.]’” UniStrip

Techs., LLC v. LifeScan, Inc., 153 F. Supp. 3d 728, 735 (E.D. Pa. 2015) (quoting Ashcroft v. Iqbal,

556 U.S. 662, 663 (2009)).




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  For other cases in the United States Supreme Court and the Fifth Circuit affirming judgments on
the pleadings or granting judgment on the pleadings on claims for violation of the FDCPA see
Midland Funding, LLC v. Johnson, 137 S. Ct. 1407, 197 L. Ed. 2d 790 (2017); Castro v. Collecto,
Inc., 634 F.3d 779, 782 (5th Cir. 2011); Drennan v. First Resol. Inv. Corp., 389 F. App'x 352 (5th
Cir. 2010); Morris v. Conn Credit Co., No. CV H-13-195, 2013 WL 12157174, at *1 (S.D. Tex.
Nov. 20, 2013).




                                                  3
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 14 of 50




       B.      The Statutory Language of the FDCPA Dictates That the Conduct Alleged
               Here is Not a Violation of the FDCPA

       Plaintiff’s Complaint baldly alleges that Defendant violated § 1692c(b) of the FDCPA.

Plaintiff’s position is erroneous.

       Section 1692c(b), which is designated with the subheading, “Communications with Third

Parties,” provides that without the prior consent of the consumer or if another statutory exception

applies:

               [A] debt collector may not communicate, in connection with the
               collection of any debt, with any person other than the consumer, his
               attorney, a consumer reporting agency if otherwise permitted by
               law, the creditor, the attorney of the creditor, or the attorney of the
               debt collector.
15 U.S.C. § 1692c(b).

       Plaintiff would have this Court believe that this Section prohibits de minimis contacts

between Defendant and one of its vendors for the sole purpose of facilitating a letter sent to

Plaintiff. This interpretation, of course, is at direct odds with the purpose and design of the

FDCPA, which generally seeks to curb abusive debt collection practices. See 15 U.S.C.

§1692(a). The conduct complained of here could never reasonably be described as abusive.

Indeed, a review of the statute as a whole – along with case law interpreting the same – renders

only one possible conclusion: Defendant’s actions did not violate the FDPCA.

               1. Defendant Did Not Engage in a Communication as it is defined in the
                  FDCPA.

       Plaintiff’s allegations ignore that Defendant did not engage in a “Communication,” as it is

defined in the FDCPA. § 1692c(b) is titled “Communication with Third Parties,” and forbids that

a debt collector “communicate…with any person other than the consumer….” 15 U.S.C. §

1692c(b) (emphasis added).       Therefore, Plaintiff must allege that Defendant engaged in a

                                                 4
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 15 of 50




“communication” as defined.      The FDCPA defines “communication” as “the conveying of

information regarding a debt directly or indirectly to any person through any medium.” 15 U.S.C.

§ 1692a(2). Not every transmission of information about a debt falls within the ambit of the

definition of “communication.”

       A plain reading of Congress’s definition of “communication” shows that the terms

“person” and “medium” are mutually exclusive. Read together, a “Person” could not include a

“medium” or the phrase “through any medium” would be surplusage. See United States v. Canals–

Jimenez, 943 F.2d 1284, 1287 (11th Cir. 1991) (“A basic premise of statutory construction is that

a statute is to be interpreted so that no words shall be discarded as being meaningless, redundant

or mere surplusage.”); DelRio-Mocci v. Connolly Properties Inc., 672 F.3d 241, 249 (3d Cir. 2012)

(“It is a well-known canon of statutory construction that courts should construe statutory language

to avoid interpretations that would render any phrase superfluous.”)(internal citation omitted).

       Furthermore, the Supreme Court of the United States has stated that a “statute ought, upon

the whole, to be so construed that, if it can be prevented, no clause, sentence, or word shall be

superfluous, void, or insignificant.” United States v. Campos–Serrano, 404 U.S. 293, 301 n. 14

(1971) (quoting Market Co. v. Hoffman,101 U.S. 112, 115–16 (1879)). This canon reflects the

idea that every word is to be given effect and none “should needlessly be given an interpretation

that causes it to duplicate another provision or to have no consequence.” Nielsen v. Preap, 139 S.

Ct. 954, 969 (2019). The Court “must presume a legislature says in a statute what it means and

what it says[.]” Connecticut Nat. Bank v. Germain, 503 U.S. 249, 253–54 (1992).

       With this canon in mind, the definition contemplates two recipients of conveyances like

the ones in this action – those to whom conveyances are made and those through whom

conveyances are made. The phrase “to any person” refers to the target at which the conveyance is

                                                 5
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 16 of 50




directed i.e. the object of the conveyance. The phrase “through any medium” refers to the person

or thing which carries the conveyance. Both the person and the medium receive and possess the

information conveyed. The latter (the medium) dispatches the information to the former (the

person), so the word “person” here must not include “mediums.” The prohibition in § 1692c(b)

refers to communications with “any person,” or “third parties,” as the section heading indicates.

Importantly, none of the permissible exceptions under § 1692c(b) involve “mediums,” but refer to

specific third parties, persons, or targets of the information i.e. the consumer, his attorney, a

consumer reporting agency, creditor, etc.

       By contrast, letter vendors are not third parties in this context, nor are they persons, but a

medium by which communications with consumers are effectuated. Absent contrary contextual

indicators, undefined words in a statute are given their ordinary meaning. Walters v. Metro. Educ.

Enters., Inc., 519 U.S. 202, 207 (1997) (internal citation omitted). Webster’s defines “medium”

to mean “a person through whom a purpose is accomplished.” Webster’s Third International

Dictionary at 1403 (1961) (emphasis added). A second definition includes, “something through

or by which something is accomplished, conveyed, or carried on.” Id. at 1402. The language of §

1692c(b) is not that “a debt collector may not communicate . . .with any person through any

medium . . . .” Mediums are excluded from the prohibition—and under § 1692c(b), a debt collector

may employ the use of any medium to communicate with a consumer.

       The text of the FDCPA contemplates that both people and things would serve as mediums,

such as when an individual serves legal process, § 1692a(6)(D), when a debt collector uses a

telephone, § 1692a(7), § 1692d(5), § 1692d(6), § 1692f(5), or when a collector sends a telegram,

§ 1692b(5), § 1692f(5), § 1692f(8). By authorizing the service of process, phone calls, and

telegrams, the text of the statute contemplates that certain conveyances of debt-related information

                                                 6
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 17 of 50




will be sent through and by mediums. Each of these mediums serve the same purpose as a letter

vendor, supporting that Congress clearly intended that such disclosures would be permissible

under the law.

       Telegrams are specifically contemplated in the FDCPA. See § 1692b(5), § 1692f(5), §

1692f(8). The information a collector transmits to a telegraph vendor include data about the

consumer and the debt that is owed, the same kind of information electronically transmitted by a

debt collector to its mail vendor. Furthermore, the FDCPA imposes three restrictions on the use

of telegrams including (1) When seeking location information about a consumer, using “any

language or symbol on any envelope or in the contents of any communication effected by the mails

or telegram that indicates that the debt collector is in the debt collection business or that the

communication relates to the collection of a debt”; (2) “Causing charges to be made to any person

for communications by concealment of the true purpose of the communication. Such charges

include, but are not limited to, collect telephone calls and telegram fees”; and (3) “Using any

language or symbol, other than the debt collector’s address, on any envelope when communicating

with a consumer by use of the mails or by telegram, except that a debt collector may use his

business name if such name does not indicate that he is in the debt collection business.” 15 U.S.C.

§§ 1692b(5), 1692f(5), 1692f(8)

       The surplusage canon requires recognition that the use of telegrams to collect debts, within

the three constraints noted above, must be permitted; otherwise, these restrictions would be mere

surplusage without any real meaning or impact. Application of this canon necessitates the

conclusion that Congress allowed debt collectors to communicate with consumers via telegram,

even though it would not be possible to do so without conveying the contents of the communication

to the telegram vendor, e.g. Western Union. Print and mail vendors are modern day telegram

                                                7
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 18 of 50




messengers. They are not unauthorized third parties; rather, they are the carriers of the vital

communications.

       Plaintiff’s interpretation would also prevent attorneys from carrying on collection

legislation due to the numerous court-adjacent communications they must make. To file and

prosecute a lawsuit, attorneys must disclose consumer and debt-related information to numerous

court-adjacent parties, including process servers, clerks of court, court reporters, etc.        The

collection attorney must disclose the consumer’s name and other identifying information to the

Department of Defense to determine if the consumer is on active-duty status pursuant to the

Servicemembers’ Civil Relief Act, 50 U.S.C. § 3931.            If the Court aligns with Plaintiff’s

interpretation, and the FDCPA permits contacts only to an exhaustive list of entities that are

permissible third parties, then collection ligation would not exist. Section1692c(b) includes no

exception for communicating information to a court clerk when a lawsuit is filed, nor does it

expressly permit the disclosure of information to a jury or to the Department of Defense, nor to

vendors tasked with confirming a consumer’s residence for venue determination. But these

exceptions must exist, because the FDCPA both expressly permits debt collection litigation and

clearly contemplates disclosure of debt collection-related information to third parties not explicitly

identified in §1692c(b). See e.g., Acosta v. Campbell, 309 F. App’x 315, 320 (11th Cir. 2009)

(holding that “a communication made by a party in a foreclosure action or its counsel regarding

the foreclosure action is not a ‘communication’ under 15 U.S.C. § 1692c(b).”)

       The Federal Trade Commission (“FTC”), which is tasked with initiating and cataloguing

enforcement actions for violations of the FDCPA, also has found that such conveyances do not

violate the law. Recognizing a debt collector’s need to convey debt-related information through

mediums such as telephone operators and telegraph clerks without violating § 1692c(b), the FTC

                                                  8
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 19 of 50




issued staff commentary confirming that conveyances incident to the use of those mediums do not

violate § 1692c(b). Statements of General Policy or Interpretation Staff Commentary On the Fair

Debt Collection Practices Act, 53 FR 50097-02, 1988 WL 269068 (F.R. 1988). The FTC also

comments that incidental disclosures of information about a debt do not violate the prohibition

against third-party disclosure such as “when an eavesdropper overhears a conversation with the

consumer[.]” Id. at 50104. The FTC further noted that a legal collector could “use a computer

service to send letters on [its] own behalf” and that it was “permissible to send a letter generated

by a machine, such as a computer or other printing device. Id. at 50105-06. As discussed above,

the FTC considered debt collectors leaving messages with telephone operators permissible

under the Act. Zortman v. J.C. Christensen & Assocs., Inc., 870 F. Supp. 2d 694, 701-02 (D. Minn.

2012) (citing Statements of General Policy or Interpretation Staff Commentary On the Fair Debt

Collection Practices Act, 53 FR 50097–02, § 805(b)(3) (1988)). Read altogether, Defendant’s

incidental contacts with third party mail vendors are not “communications” as defined in the

FDCPA, and do not violate §1692c(b).

               2. Defendant’s Contacts with its Vendors are not “in connection with the
                  collection of a Debt.”

       For a contact to be actionable under § 1692c(b), the debt collector must communicate with

an individual, “in connection with the collection of any debt.” 15 U.S.C. § 1692c(b). Congress

intended a distinction between communications and communications in connection with the

collection of a debt. Therefore, it must be determined whether the act of transmitting information

about the debt, and about Plaintiff, to the vendor was a communication in connection with the

collection of a debt. See Heinz v. Carrington Mortg. Servs., LLC, 3 F.4th 1107, 1112 (8th Cir.

2021) (stating that “the dispositive issue in this case is whether the challenged communications

and conduct were made in connection with the collection of a debt . . . ”).
                                              9
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 20 of 50




       The text of the FDCPA mandates that the phrase “in connection with collection of any

debt” has a special meaning. The word “communicate” is used as a verb in Sections 1692b, 1692c,

1692e, and 1692f of the FDCPA. In two of those instances, it is followed by the words “in

connection with the collection of any debt;” § 1692c(a), (b); in one instance it is followed by the

words “with respect to such debt” § 1692c(c); in one instance it is followed by the words

“regarding a debt”; § 1692f(7); and in the remaining instances it is not tied to either of those

phrases. § 1692b(3), (6), (7)), § 1692e(8).

               Although the “normal rule of statutory construction [is] that words
               repeated in different parts of the same statute generally have the
               same meaning,” that default principle does not govern where—as
               here—the repeated word is modified in one instance but not the
               other.
Sargeant v. Hall, 951 F.3d 1280, 1283 (11th Cir. 2020) (internal citations omitted); see also, Envtl.

Def. v. Duke Energy Corp., 549 U.S. 561, 574 (2007) (“[T]he natural presumption that identical

words used in different parts of the same act are intended to have the same meaning . . . is not rigid

and readily yields whenever there is such variation in the connection in which the words are used

as reasonably to warrant the conclusion that they were employed in different parts of the act with

different intent.”) (citation and internal quotation marks omitted.)

       One of the two instances in which the FDCPA links the verb “communicate” to the phrase

“the collection of any debt” is in the section at issue in the present case. Applying the rule stated

above, Defendant was prohibited from communicating with third parties “in connection with the

collection of any debt”, but it was not prohibited from communicating “with respect to” or

“regarding” the debt, and it was not prohibited from “communicating” with third parties. For these

distinctions to have meaning (as they must) there must be a statutory distinction that separates the

meaning of these paragraphs.

                                                 10
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 21 of 50




        These distinctions require recognition that communicating “regarding a debt” is different

than communicating “in connection with the collection of” a debt. This distinction is crucial in

evaluating the FDCPA in a world of modernized communications. Text messages may be directed

to consumers, but they reside on the servers of phone carriers. Email messages to consumers

similarly reside on the servers of email providers. Information is conveyed to those third parties,

but not “in connection with” any collection effort by those entities. The same is true of mail

carriers and “cloud” storage vendors that handle data storage for debt collectors. And the same is

true for letter vendors.

        Plaintiff consolidates two communications into one: 1) Defendant’s transmission of

information to the letter vendor for purposes of generating a letter to the consumer; and 2) the

actual letter which was allegedly transmitted by the letter vendor to Plaintiff. It is the second

communication, the actual letter that had the objective of motivating Plaintiff to pay the debt,

which would render the communication to be “in connection with the collection” of a debt. That

communication is not alleged to have violated the FDCPA. The first communication, however,

from Defendant to the letter vendor is not a “communication in connection with the collection of

a debt.” The fact that the letter vendor would generate and send on behalf of Defendant would be

considered a “communication in connection with the collection of a debt,” does not make the

transfer of information to the letter vendor the same. When a debt collector transmits data to its

letter vendor, it is merely transmitting the information that is necessary to enable it to transmit the

message to the consumer. It does not hold the consumer up to shaming or public embarrassment

and even if the vendor is a third party within the meaning of the FDCPA, it does not communicate

with a third party “in connection with the collection of any debt.”



                                                  11
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 22 of 50




       Courts across the country employ various tests to determine whether a communication is

one that is in connection with the collection of a debt, none of which would hold that the contacts

here are actionable under the FDCPA. When determining whether a communication was made in

connection with the collection of a debt, the courts look to the language of the communication

itself to ascertain whether it contains a demand for payment and warns of additional fees or actions

if payment is not tendered. Farquharson v. Citibank, N.A., 664 F. App’x 793, 801 (11th Cir. 2016).

Consequently, when determining whether the transmission of information to a third party

constitutes a violation of the FDCPA, it is important to consider whether the communication makes

an express or implied demand for payment. Kinlock v. Wells Fargo Bank, N.A., 636 F. App’x 785,

787 (11th Cir. 2016) (affirming dismissal of FDCPA claim because the complaint failed to allege

that the communication made a demand for payment).

       Other courts have developed a factor-based analysis that takes into account: “(1) the nature

of the relationship of the parties; (2) whether the communication expressly demanded payment or

stated a balance due; (3) whether it was sent in response to an inquiry or request by the debtor; (4)

whether the statements were part of a strategy to make payment more likely; (5) whether the

communication was from a debt collector; (6) whether it stated that it was an attempt to collect a

debt; and (7) whether it threatened consequences should the debtor fail to pay.” Goodson v. Bank

of Am., N.A., 600 F. App’x 422, 431 (6th Cir. 2015); Bohringer v. Bayview Loan Servicing, LLC,

141 F. Supp. 3d 1229, 1240-1241 (S.D. Fla. 2015).

       Here, the communications to the letter vendor made no demand for payment, and a de

minimis contact with a letter vendor acting as a medium to contact Plaintiff is not part of a broad

strategy to coerce payment, but rather is just standard debt collection activity. The relationship

between the parties to the specific communication in question is not between the Defendant and

                                                 12
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 23 of 50




the Plaintiff, but between the Defendant and its agent, with the Plaintiff as essentially a third-party

beneficiary. The communication does not: (1) make a direct or implied demand for payment from

the recipient letter vendor; (2) state that it is an attempt to collect a debt; or (3) suggest

consequences if payment is not made. Plaintiff instead conflates Defendant’s communications to

facilitate the collection of the outstanding debts with communication demanding payment. Section

1692c(b) punishes only the latter, which does not include communications to a third-party letter

vendor. Dunn v. Glob. Tr. Mgmt., LLC, 506 F. Supp. 3d 1214, 1241 (M.D. Fla. 2020).

       Other courts apply the “animating purpose” test to determine whether a communication is

in connection with the collection of a debt. This test evaluates whether an animating purpose of

the communication must be to induce payment by the debtor. Grden v. Leikin Ingber & Winters

PC, 643 F.3d 169, 173 (6th Cir. 2011) (holding balance statements from a debt collector in

response to a debtor inquiry are not made in connection with the collection of a debt despite stating

a balance was “due.”); McIvor v. Credit Control Servs., Inc., 773 F.3d 909, 914 (8th Cir. 2014)

(holding the animating purpose of a communication with the credit reporting agency is not to

induce payment); Goodin v. Bank of Am., N.A., 114 F. Supp. 3d 1197, 1205 (M.D. Fla. 2015)

(holding various informational communications between a debtor and a consumer were not

FDCPA violations); Penn v. Cumberland, 883 F. Supp. 2d 581, 587–88 (E.D. Va. 2012) (“In

determining whether a communication is intended to collect a payment, it is appropriate to consider

the nature of the parties’ relationship, as well as the purpose and context of the communication

and whether an “animating purpose” of the communication is to induce payment.”).

       Here, the communication at issue, namely, the transfer of data from Defendant to the letter

vendor, does not have the animating purpose of inducing payment by the debtor. Although it

facilitates the collection or validation of a debt for the benefit of all parties, ultimately the

                                                  13
      Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 24 of 50




conveyance of the necessary information to facilitate sending a collection letter is not going to

provide any pressure or strategy to induce payment. Thus, Defendant’s conduct does not violate

§ 1692c(b) under the numerous tests set out by the federal courts.

                 3. The Supreme Court of the United States Implicitly Held that the Use of
                    Letter Vendors is Not a Violation of the FDCPA

          The Supreme Court recently implicitly weighed in on the dispositive issue in this matter,

and seemingly held that communications to vendors were not injuries sufficient to confer standing

in TransUnion, LLC v. Ramirez, 141 S. Ct. 2190 (2021). In Ramirez, the plaintiff brought a class

action on behalf of himself and a class of similarly situated individuals for violations of the Fair

Credit Reporting Act (“FCRA”). Plaintiff and a certified class of 8,185 class members asserted

that they had been injured by Defendant’s use of a third-party software which would match names

to the Treasury Department’s Office of Foreign Assets Control (“OFAC”) list of terrorists, drug

traffickers, and other serious criminals. Ramirez, 141 S.Ct at 2201. When a third-party business

would obtain an individual credit file, the file would flag the consumer as a potential match for

someone on the list, comparing first and last names only. Id. Plaintiff alleged that the use of the

software by the Defendant was not a reasonable procedure under the FCRA. Id. at 2202. Plaintiff

further alleged additional formatting errors when he requested his credit file from the Defendant.

Id.

          The Supreme Court reversed the Ninth Circuit and dismissed most of the claims involved

on standing grounds. However, Justice Kavanaugh wrote in a footnote, addressing one of the

arguments the plaintiffs had raised in its final brief, regarding disclosures to vendors. The Court

determined that the issue was raised too late to be considered, but still went on to discuss this

theory.


                                                 14
     Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 25 of 50




                  For the first time in this Court, the plaintiffs also argue that
                  TransUnion ‘published’ the class members’ information
                  internally—for example, to employees within TransUnion and to
                  the vendors that printed and sent the mailings that the class
                  members received.[…]           Many American courts did not
                  traditionally recognize intra-company disclosures as actionable
                  publications for purposes of the tort of defamation. See, e.g.,
                  Chalkley v. Atlantic Coast Line R. Co., 150 Va. 301, 326–328, 143
                  S. E. 631, 638–639 (1928). Nor have they necessarily recognized
                  disclosures to printing vendors as actionable publications. See,
                  e.g., Mack v. Delta Air Lines, Inc., 639 Fed. Appx. 582, 586 (CA11
                  2016). Moreover, even the plaintiffs’ cited cases require evidence
                  that the defendant actually “brought an idea to the perception of
                  another,” Restatement of Torts §559, Comment a, p. 140 (1938), and
                  thus generally require evidence that the document was actually read
                  and not merely processed, cf. Ostrowe v. Lee, 256 N. Y. 36, 38–39,
                  175 N. E. 505, 505–506 (1931) (Cardozo, C. J.).
Id. at 2210, n. 6 (2021) (emphasis added).

         In this footnote, the Court specifically went out of its way to acknowledge that disclosures

to printing vendors are not actionable publications. Although the Court’s main basis for dismissing

many of the plaintiffs’ claims was on standing grounds, the Court clearly suggested that lawsuits

under Plaintiff’s vendor theory here could not survive on the merits either. With the Eleventh

Circuit recently vacating its opinion in Hunstein v. Preferred Collection & Mgmt. Servs., Inc.,2 the

Supreme Court’s opinion in Ramirez is the only appellate case law on this issue.

                  4. Plaintiff’s Interpretation of the FDCPA Does Not Advance the Plain
                     Purpose of the Statute

         This Court should also dismiss Plaintiff’s claims because advancing such an argument does

not promote the purposes of the FDCPA. While Plaintiff provides little factual legal support in

his Complaint, a generous reading of the Complaint lends to the conclusion that Plaintiff’s position


2
  In its original opinion in Hunstein, the Eleventh Circuit reversed a District Court’s dismissal of a plaintiff’s letter
vendor action. 994 F.3d 1341, 1352 (11th Cir. 2021). In reaching its decision, the Court did not consider the question
as to whether the use of a letter vendor was a “communication” under the statute, misapplied many statutory canons,
and ignored Eleventh Circuit precedent. Id.
                                                          15
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 26 of 50




is that the only permissible third-party communications are to the explicitly named entities in the

statute, i.e. the consumer, his or her attorney, a consumer reporting agency if otherwise permitted

by law, the creditor, the attorney of the creditor, or the attorney of the debt collector. Thus, taking

Plaintiff’s position as true, the transmission of data to the mail vendor would violate the FDCPA

because a third-party vendor for a debt collector is not one of the permissible exceptions.

Interpreting the FDCPA in this way creates catastrophic results without advancing much of the

purposes of the statute.

       The Supreme Court has said that courts should go beyond literal language of a statute if

reliance on that language would defeat the plain purpose of a statute. Bob Jones Univ. v. United

States, 461 U.S. 574, 586 (1983). The proper interpretation of “communication,” “in connection

with the collection of a debt” and “third party” “depends upon reading the whole statutory text,

considering the purpose and context of the statute and consulting any precedents or authorities that

inform the analysis.” See Dolan v. U.S. Postal Serv., 546 U.S. 481, 486 (2006). The purpose of

the FDCPA’s restrictions on third party communications was to prohibit “disclosing [of] a

consumer’s personal affairs to friends, neighbors, or an employer.” Sen. Rep. No. 95-382, Cong.

Record, Vol. 123, at p. 1696 (1977). These contacts with third parties, all of whom know the

consumer, were deemed “not legitimate collection practices and result in serious invasions of

privacy, as well as the loss of jobs.” Id. at 1699. Although the FDCPA restricts communications

with third parties regarding a debt, the bar should not be so absolute.

       Reading the FDCPA to include letter vendors does not advance the purposes of the statute.

When a debt collector transmits data to its letter vendor, it is merely transmitting the information

that is necessary to enable it to transmit the message to the consumer. It does not hold the consumer

up to shaming or public embarrassment or otherwise puts their employment in jeopardy because a

                                                  16
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 27 of 50




specialized company prints and mails information concerning their debts. Instead, it creates a

scenario where a Plaintiff can reap the rewards for transmission of information neither they, nor

anyone related to them, would ever know about. The FDCPA should not be interpreted “to create

bizarre results likely beyond the scope of Congress’s intent in enacting the statute.” Strand v.

Diversified Collection Service, Inc., 380 F.3d 316, 318 (8th Cir. 2004). Plaintiff’s argument, if

successful, would prevent these vital, but de minimis, communications while not doing much for

the sake of advancing these policies. Congress legislates against the backdrop of common law to

avoid absurd results, which must give way to statutory constructions in harmony with general

principles of tort immunities and defenses existing when Congress enacts a statute. See Imbler v.

Pachtman, 424 U.S. 409, 418 (1976). Congress would not have written a statute that would permit

such “bizarre” and “absurd” results. In this context. Defendant’s contacts with its mail vendor do

not violate the FDCPA.

               5. The Colorado Supreme Court Held that Use of Mail Vendors Do Not
                  Violate FDCPA

       Ramirez was not the first appellate court to weigh in on the legitimacy of claims of illegal

third-party disclosures to letter vendors. In Flood v. Mercantile Adjustment Bureau, 176 P.3d 769

(Colo. 2008), the Colorado Supreme Court, sitting en banc, was presented with an identical claim

that the use of an automated mailing service violated the Colorado state equivalent of § 1692c(b).

The plaintiff alleged that the debt collector violated § 12-14-105(2) of Colorado’s Fair Debt

Collection Practices Act, “which prohibits communications between a debt collector and third

parties.” Id. at 777. The court concluded that Colorado’s General Assembly did not intend for §

12-14-105(2) to “prohibit a debt collector from using an automated mailing service.” Id. The court

analyzed 1692c(b) of the FDCPA, which was “nearly identical” and noted the purpose of 1692c(b),

which is to “protect a consumer’s reputation and privacy, as well as to prevent loss of jobs resulting
                                                17
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 28 of 50




from a debt collector’s communication with a consumer’s employer concerning the collection of

a debt.’” Id. (citing West v. Costen, 558 F. Supp. 564, 575 (W.D. Va. 1983). The court found that

the debt collector “utilized an entirely automated printing and mailing service” and “electronically

transmitted the information included in its collection communications to Unimail.” Flood, 176

P.3d, at 777. “Unimail then printed the collection communications, which were mechanically

stuffed into envelopes.” Id.

       The court agreed with the determination of the lower court that the “use of such a highly

automated procedure did not violate § 12-14-105(2) because it did not threaten the consumer with

the risk of being coerced or embarrassed into paying a debt because the debt collector contacted

an employer, family member, friend, or other third party.” Id. The court found that the debt

collector did not engage in a prohibited third-party communication because “[t]he use of an

automated mailing service, such as Unimail, by a debt collector is a de minimis communication

with a third party that cannot reasonably be perceived as a threat to the consumer’s privacy or

reputation.” Id. The Colorado Attorney General explained that collection agencies “may hire

computer programmers, data entry staff, receptionists, bookkeepers and janitors” and while

communications “with these individuals may be in connection with the collection of debts by

facilitating that process…it would be absurd to suggest that such communications are prohibited.”

Brief for Colorado Attorney General, as Amicus Curiae Supporting Respondent in Flood v.

Mercantile Adjustment Bureau, No. 06SC699, 2007 WL 2322277, at *13 (Colo. 2007) (Appellate

Brief). Whether an agency uses “its own in-house ‘W-2’ employees rather than… independent

contractors” should not impact the analysis, the Attorney General argued, because if “a collection

agency ‘engages’ or contracts with the third-parties to perform the same activities, no

impermissible third-party communication results.” Id. at *13-14. “The contractor is merely an

                                                18
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 29 of 50




agent ‘standing in the shoes’ of the collection agency or debt collector.” Id. at *14. The Attorney

General posited that the use of a “fully-automated printing and mailing system…does not contain

the same risk of embarrassment or invasion of privacy inherent in contact with a consumer’s

relatives, neighbors, or employer. Id.

       Here, this Court should follow guiding jurisprudence, including that of the Supreme Court

of the United States, as well as consider the language of § 1692c(b), to dismiss Plaintiff’s mistaken

claims that conveyances of information to a letter vendor violate the FDCPA.

       C.      Principles of Agency Law Indicate Letter Vendors are Not a “Third Party”
               under the FDCPA

       Section 1692c(b) prohibits unauthorized communications with “third parties.” Therefore,

in order for Defendant to have violated the FDCPA by communicating with a letter vendor, that

vendor would have to be a “third party.” However, the letter vendors used here are not third

parties, but rather agents of Defendant, so communications to letter vendors are not violations of

the FDCPA.

       The prohibition to third parties discusses communications with “any person.” But any

person does not mean literally “any person,” and not every person that is excluded from the statute

is a third party. For example, an administrative assistant at a debt collection firm is no more a

third party than a letter vendor working in conjunction with the debt collector, because as is plainly

apparent, letter vendors are agents of the business that utilize them, like Defendant. Thus, contacts

with its letter vendor do not violate the FDCPA’s prohibition on communications with third parties,

as such communications are not to another person, but to agents of the debt collector.

       Federal courts have long relied on traditional agency principles to interpret the FDCPA.

Barbato v. Greystone All., LLC, 916 F.3d 260, 269 (3d Cir. 2019), cert. denied sub nom. Crown

Asset Mgmt. LLC v. Barbato, 140 S. Ct. 245 (2019), as well as statutes like the Telephone
                                          19
     Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 30 of 50




Consumer Protection Act, see, e.g., Gomez v. Campbell-Ewald Co., 768 F.3d 871, 879 (9th Cir.

2014), aff’d, 577 U.S. 153 (2016), and the Fair Credit Reporting Act, see, e.g., Jones v. Federated

Fin. Rsrv. Corp., 144 F.3d 961, 966 (6th Cir. 1998).

        “Agency is defined as ‘the fiduciary relationship which results from the manifestation of

consent by one person to another that the other shall act on his behalf and subject to his control,

and consent by the other so act.’” United States v. Schaltenbrand, 930 F.2d 1554, 1560 (11th Cir.

1991) (quoting Restatement (Second) of Agency § 1(1)). The principal of an agent, after all, is

subject to the same principles of respondeat superior as is the employer of an employee—because

of that fiduciary relationship. Alfaro-Huitron v. Cervantes Agribusiness, 982 F.3d 1242, 1254

(10th Cir. 2020) (finding respondeat superior derives from a principal’s right to control the conduct

of its agents.).

        A principal’s agent or employee, who acts for or on behalf of the principal, is a “party” to

that principal’s contractual and business relations and not a third party thereto. And under

longstanding background principles of agency law, “a principal is considered to have done himself

or herself what he or she does by acting through another person.” 2A C.J.S. Agency § 1. In other

words, “a principal’s agent or employee, who acts for or on behalf of the principal, is a ‘party’ to

that principal’s contractual and business relations and not a third party thereto.” Harrell v.

Reynolds Metals Co., 495 So. 2d 1381, 1388 (Ala. 1986). An agency relationship “always

‘contemplates three parties—the principal, the agent, and the third party with whom the agent is

to deal.’” Restatement (Third) of Agency 1.01 cmt. C (2006). In this case, we have a debt collector

(the principal), the agent (the letter vendor), and the third party with whom the agent is to deal (the

consumer). The debt collector contracts with these third-party vendors who exist solely to assist

the principal debt collector in carrying out their operations. The FDCPA does not contain any

                                                  20
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 31 of 50




indication that Congress intended to abrogate these fundamental agency-law principles in enacting

1692c(b). Read in the way Plaintiff proposes, each individual debt collector would have to build

a wall around each consumer’s data to preclude any employee, partner, or agent from accessing it

or face legal consequences.

       Congress made it clear that debt collectors could be corporations. See, e.g., 15 U.S.C. §

1692a(6)(B) (exclusion for entities “related by common ownership or affiliated by corporate

control”). And because corporations are not natural persons, they necessarily act by and through

agents. Baltimore & Ohio R.R. v. Baugh, 149 U.S. 368, 382 (1893); accord William Meade

Fletcher, Cyclopedia of the Law of Private Corporations § 30 (Sept. 2020); see Arzlozynski v.

Rubin & Debski, P.A., 710 F. Supp. 2d 1308, 1310-1311 (M.D. Fla. 2010) (holding directors and

officers of a debt collection firm is a “debt collector” under the FDCPA). There is no reason to

think Congress meant to sweep debt collectors’ agents into § 1692c(b)’s prohibition on certain

communications.

       Absent a clear expression of intent to the contrary, one must presume that Congress

intended debt collectors to conduct debt-collection businesses in an ordinary, business-like way,

using employees and agents where it makes sense to do so, so long as the debt collector, its

employees, and its agents all comply with the FDCPA. Debt collectors may have employees or

other debt-collector representatives and fiduciaries to whom they may entrust consumer account

data without committing a per se violation of the FDCPA. See, e.g., LeBlanc v. Unifund CCR

Partners, 601 F.3d 1185, 1201-02 (11th Cir. 2010) (debt collector liable for debt collector partner’s

breach of the FDCPA); see also White v. Goodman, 200 F.3d 1016, 1019 (7th Cir. 2000) (the

FDCPA “is not aimed at the shareholders of debt collectors”). Congress contemplated that the

“Debt collector” who may have access to a consumer’s information may comprise more than a

                                                 21
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 32 of 50




single, individual human being. Thus, a debt collector who relies on the assistance of employees

or agents, who are subject to the same stringent rules governing legal debt collection activities, in

no way offends the interests of the FDCPA. Indeed, Courts have routinely imposed vicarious

liability on collectors for actions taken under their control or authority. See, generally, Bodur v.

Palisades Collection, LLC, 829 F. Supp. 2d 246, 258-59 (S.D.N.Y. 2011) (citing Pollice v. Nat'l

Tax Funding, L.P., 225 F.3d 379, 405 (3d Cir. 2000)); Fox v. Citicorp Credit Servs., Inc., 15 F.3d

1507, 1516 (9th Cir. 1994); Suquilanda v. Cohen & Slamowitz, LLP, No. 10 Civ. 5868 PKC, 2011

WL 4344044, at *4 (S.D.N.Y. Sept 8, 2011); DeFazio v. Leading Edge Recovery Solutions, LLC,

No. 2:10–cv–02945-WJM-MF, 2010 WL 5146765, at *3 (D.N.J. Dec. 13, 2010); Martsolf v. JBC

Legal Grp., P.C., No. 1:04–CV–1346, 2008 WL 275719, at *10 (M.D. Pa. Jan. 30, 2008). If a

commercial mail vendor, were to publicize information about a consumer, the consumer would

still be able to seek relief under the FDCPA against the collector who hired the vendor.

       It is clear from the case law, as well as basic principles of principal and agency law, the

letter vendors here are not third parties for entities like Defendant, but are acting in their capacity

as Defendant’s agent. Section 1692c(b) only bars communications to third parties. Therefore, this

Court should dismiss the Complaint on that basis.

       D.      Plaintiff’s Reading of the FDCPA, if Enforced, Violates the First Amendment

               1. Interpreting the FDCPA to Prohibit the Use of Mail Vendors is a Content-
                  Based Restriction on Protected Speech and is Subject to Strict Scrutiny

       Plaintiff’s reading of the FDCPA, if allowed by this Court, would constitute an

unconstitutional content-based restriction on protected speech. Under First Amendment principles

and recent Supreme Court guidance, such a restriction would be subject to strict scrutiny review

by the Court. The restriction does not advance a compelling governmental interest nor is it

narrowly tailored to advance that interest. While debt collectors’ communications with mail
                                             22
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 33 of 50




vendors may not be the classic form of speech given rigorous First Amendment protection, the

Constitution still applies. Thus, this Court must deny these claims as applied.

       The First Amendment to the Constitution states, in pertinent part, that “Congress shall

make no law . . . abridging the freedom of speech.” U.S. Const., amend. I. “Above ‘all else, the

First Amendment means that government’ generally ‘has no power to restrict expression because

of its message, its ideas, its subject matter, or its content.’” Barr v. American Association of

Political Consultants, 140 S. Ct. 2355, 2346 (2020) (quoting Police Dept. of Chicago v. Mosley,

408 U.S. 92, 95, 92 S. Ct. 2286 (1972)). When laws, whether restrictive or compulsive, “‘target

speech based on its communicative content’” they generally “‘are presumptively unconstitutional

and may be justified only if the government proves that they are narrowly tailored to serve

compelling state interests.’” National Institute of Family and Life Advocates v. Becerra, 138 S. Ct.

2361, 2371, 201 L. Ed.2d 835 (2018).

       Commercial speech is a special category of content-based speech and is “expression related

solely to the economic interests of the speaker and its audience.” Central Hudson Gas & Elec.

Corp. v. Public Serv. Comm’n, 447 U.S. 557, 561 (1980) (citing Virginia State Bd. of Pharmacy

Bd. v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 762 (1976)). In other words,

commercial speech’s primary motivating factor is economic. See Bolger v. Youngs Drug Prods.

Corp., 463 U.S. 60, 67 (1983). The speech here can only be classified as commercial. In the past,

courts have examined such laws under intermediate scrutiny. The Supreme Court of the United

States, in Barr v. AAPC, supra, instead applied a more rigorous standard in the context of

examining a restriction on commercial speech under the Telephone Consumer Protection Act , 47

U.S.C. § 227 (the “TCPA”).



                                                23
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 34 of 50




       The Court in Barr found that an exemption to a broad ban on “robocalls,” which

specifically exempted calls made for the collection of government debts, was an unconstitutional

content-based provision subject to strict scrutiny under the Court’s precedent in Reed v. Town of

Gilbert, Ariz., 576 U.S. 155, 165 (2015). Barr, 140 S. Ct. at 2346. The Court discussed that the

restriction drew a distinction based on both the message the speaker made as well as the identity

of the speaker itself. Id. at 2346-47. The Court also disagreed with the government’s argument

that the legality of the call depended on whether the caller was engaged in certain economic activity

and not the content of the speech. Id. at 2347 (citing Sorrell v. IMS Health Inc., 564 U.S. 552,

563-64 (2011) (holding a law singling out pharmaceutical marketing for unfavorable treatment

was content-based).

       That same logic applies to the restriction here. A debt collector can communicate with a

consumer about almost any topic and not run afoul of § 1692c(b)—that is, unless it is a

communication “in connection with the collection of any debt.” The Supreme Court has also

provided guidance that if authorities need to examine the content of the message that is conveyed

to determine whether a violation has occurred, then it is content-based. See McCullen v. Coakley,

573 U.S. 464, 479 (2014). In order to determine whether there is an FDCPA violation, regulators

and courts must literally examine the content of a communication to determine whether such a

communication was “in connection with the collection of a debt.” Thus, it is clear that the

prohibition by its plain terms is a content-based restriction. The Court should follow Barr and

other courts that have held that strict scrutiny is the appropriate standard in which to evaluate a

content-based restriction on commercial speech. See Int’l Outdoor, Inc. v. City of Troy, Michigan,

974 F.3d. 690, 703 (6th Cir. 2020) (“[A] regulation of commercial speech that is not content-

neutral is still subject to strict scrutiny under Reed”); Otto v. City of Boca Raton, Fla., 981 F.3d

                                                 24
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 35 of 50




854, 869-870 (11th Cir. 2020) (holding laws that restricted the counseling of minor patients to

change their sexual orientation was subject to strict scrutiny despite being involved in a business.)

        Statutes that are subject to strict scrutiny are upheld only if Congress has narrowly tailored

them to “promote a compelling interest,” meaning they must be “the least restrictive means to

further the articulated interest.” Sable Communications of Cal. v. FCC, 492 U.S. 115, 126 (1989).

“No one questions that protecting consumer privacy qualifies as a legitimate and ‘genuine’ interest

for the government to pursue. . . . But before the government may censor . . . speech based on its

content, it must point to a compelling interest.” Barr, 140 S. Ct. at 2364 (Gorsuch, J., concurring

in part, and dissenting in part)(emphasis in original). Stated differently, the question is whether

the particular third-party restriction in § 1692c(b) as applied is “necessary to serve a compelling

state interest and is narrowly drawn to achieve that end.” Arkansas Writers’ Project, Inc. v.

Ragland, 481 U.S. 221, 231 (1987). As discussed, the FDCPA was enacted to prevent illegitimate

debt collection practices, including protecting consumers from the embarrassment of having

family, friends, neighbors, or employer find out they are in debt. Section 1692c(b), as applied by

Plaintiff, is not necessary to advance that interest, and in fact, does little to advance that interest to

survive strict scrutiny review.       Even if such an interest could be a compelling interest,

implementing a blanket ban on incidental third-party communications is not narrowly tailored to

fit the interest at stake here. As discussed infra, there are several alternative readings this Court

can employ that properly tailor the statute for the interest at stake; however, as read by Plaintiff,

the provision is an unconstitutional restriction on speech.

                2. Plaintiff’s Reading of the FDCPA Violates the First Amendment Under
                   Intermediate Scrutiny

        Should this Honorable Court decide that the content-based restriction should not be

evaluated under strict scrutiny, and choose to evaluate the provision under intermediate scrutiny,
                                                   25
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 36 of 50




§ 1692c(b) as applied would still fail its constitutional test as it does not directly advance

Congress’s interest in preventing abusive debt collection practices and is not narrowly tailored to

achieve that purpose. See Central Hudson Gas & Elec. Corp., 447 U.S. at 564-65; see also

Thompson v. W. States Med. Ctr., 535 U.S. 357, 367, (2002). “A proper inquiry should examine

the seriousness of the speech-related harm, the importance of the countervailing objectives, the

likelihood that the restriction will achieve those objectives, and whether there are other, less

restrictive ways of doing so.” Barr, 140 S. Ct. at 2362 (Breyer, J., concurring, in part, and

dissenting, in part).

        Plaintiff’s purported reading of §1692c(b) does not “directly advance” Congress’s purpose

in banning abusive third party “pressure contacts.” Any interpretation of Section 1692c(b) but

forth by Plaintiff extends far beyond prohibiting abusive practices of contacting bystanders such

as the “consumer’s friends, neighbors, relatives, or employer.” Eliminating routine, confidential

business communications is not a “substantial” interest behind Section 1692c(b), and prohibiting

those communications does nothing to prohibit abusive debt collection practices. Even the

Eleventh Circuit, which wrongly concluded that the plaintiff had stated a claim under § 1692c(b)

for the use of letter vendors admitted “We recognize, as well, that those costs may not purchase

much in the way of ‘real’ consumer privacy, as we doubt that the [mail vendors] of the world

routinely read, care about, or abuse the information that debt collectors transmit to them.”

Hunstein, 994 F.3d at 1352.

        For similar reasons, Plaintiff’s reading of Section 1692c(b) is far “more extensive than

necessary to serve” the congressional interest behind Section 1692c(b), prohibiting all such

communications to all third parties, minus only six enumerated exceptions. Central Hudson Gas

& Elec., 447 U.S. at 566. By contrast, the Gramm-Leach-Bliley Act (“GLBA”)—perhaps the

                                                26
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 37 of 50




broadest national privacy-focused law—only prohibits disclosing specific “nonpublic personal

information,” and does not permit consumers to opt out of disclosures between the financial

institution and contractual partners with a confidentiality agreement. See 12 C.F.R. §§ 1016.10,

1016.13.   Similarly, the Health Information Portability and Accountability Act (“HIPAA”)

generally prohibits sharing of protected health information, but contains numerous exceptions,

including permitting communications with third parties for the purposes of treatment and payment.

See 45 C.F.R. § 164.506. GLBA and HIPAA demonstrate that Congress and rulemaking agencies

are capable of crafting speech restrictions that are not “more extensive than necessary to serve”

Congress’s goal of protecting privacy. Under Plaintiff’s interpretation, the expansive reach and

limited exceptions to § 1692c(b) fail to meet that standard.

       Interpreting the FDCPA to cover vendor communications would provide no alternative

channels for such communications by debt collectors.            Under this interpretation, any

communication with a party not specifically exempted by Section 1692c(b) would result in an

FDCPA violation. For example, a debt collector who leaves a voicemail message on a consumer’s

cell phone could violate Section 1692c(b) because the message would actually be stored on the

servers on the consumer’s cell phone provider and accessible to the provider. A similar analysis

would occur for e-mails and text messaging. This would substantially curtail alternative channels

of communication which, in turn, does not satisfy the final prong for intermediate scrutiny.

Therefore, the Court cannot allow the statute to be interpreted in this unduly burdensome matter.

               3. This Court Should Follow the Canon of Constitutional Avoidance by
                  Interpreting Section 1692c(b) in a way that Does Not Violate the
                  Constitution

       This Court should dismiss Plaintiff’s Complaint and interpret the FDCPA in a way that

does not run afoul of First Amendment principles. Gomez v. United States, 490 U.S. 858, 864

                                                27
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 38 of 50




(1989) (“It is our settled policy to avoid an interpretation of a federal statute that engenders

constitutional issues if a reasonable alternative interpretation poses no constitutional question.”;

see also United States ex rel. Attorney General v. Delaware & Hudson Co., 213 U.S. 366, 408

(1909) (“[W]here a statute is susceptible of two constructions, by one of which grave and doubtful

constitutional questions arise and by the other of which such questions are avoided, our duty is to

adopt the latter.”); I.N.S. v. St. Cyr, 533 U.S. 289, 299-300 (2001) (“[I]f an otherwise acceptable

construction of a statute would raise serious constitutional problems, and where an alternative

interpretation of the statute is ‘fairly possible,’ . . . we are obligated to construe the statute to avoid

such problems.”) The Court must employ the constitutional doubt canon that avoids rendering the

provision unconstitutional.

        The Court should consider a “reasonable alternative interpretation.” For example, the

Court could interpret the operative section akin to § 1692e, a communication made, “for the

purpose of collecting a debt,” see Caceres v. McCalla Raymer, LLC, 755 F.3d 1299, 1303 (11th

Cir. 2014), or could require that the communication contain a demand for payment. The Court

can also adopt a reading of the statute that accounts for common-law principles of agency and

business relationships, as well as the common-law understanding of the required elements for the

tort of public disclosure of private facts. Certain state legislatures have crafted similar laws, but

with exceptions deemed to have a “legitimate business need” for the information. See Cal. Civ.

Code § 1788.12(e) (providing a safe-harbor for a debt collectors’ communications with “any other

person reasonably believed to have a legitimate business need for such information”); accord, e.g.,

Fla. Stat. § 559.72(5); Iowa Code § 537.7103(3)(a)(2); Md. Code, Commercial Law, § 14-202;

Wis. Stat. § 427.104(1)(e).



                                                    28
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 39 of 50




       However, this Court decides to interpret Section 1692c(b), it must do so to prevent a

reading that renders the whole provision unconstitutional as a restriction of speech violative of the

First Amendment. Doing so here, would also compel the dismissal of Plaintiff’s claim under 15

U.S.C. § 1692c(b).

       E.      This Court Should Defer to the Interpretations of the Agencies Authorized to
               Regulate and Enforce the FDCPA

               1. The Consumer Financial Protection Bureau Has Performed Oversight on
                  Debt Collectors and Has Not Found These Contacts in Violation with the
                  Law.

       As part of its analysis, this Court should defer to the federal agencies tasked with regulating

and enforcing the FDCPA against debt collectors, and similarly hold that these contacts with letter

vendors do not run afoul of the statute. As part of the Dodd-Frank Act, Congress authorized the

Consumer Financial Protection Bureau (“CFPB”) to enact and enforce rules and regulations related

to the FDCPA. CFPB was created with the purpose of implementing and enforcing “federal

consumer financial law consistently” and to ensure, among other things, “that markets for

consumer financial products and services are fair, transparent, and competitive.” 12 U.S.C. §

5511(a). Debt collectors supervised by the CFPB are subject to examination and enforcement

regarding their own and their service providers’ protection of consumer information. In those

years, the CFPB has not once taken action against a debt collector for using a letter vendor. To

the contrary, CFPB acknowledges it is often appropriate for supervised nonbanks (including many

debt collectors) to outsource certain functions to service providers to conserve resources and rely

on the expertise from those providers that would not otherwise be available without significant

involvement. See CFPB Compliance Bulletin and Policy Guidance; 2016-02, Service Providers.

Available    at    https://files.consumerfinance.gov/f/documents/102016_cfpb_OfficialGuidance

ServiceProviderBulletin.pdf (last downloaded August 18, 2021).
                                                 29
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 40 of 50




       Furthermore, the CFPB Supervision and Examination Manual repeatedly acknowledges

the use of collection vendors. The manual states, “This module assesses whether the entity is a

‘debt collector’ under the FDCPA and therefore subject to that Act. In addition, this module

addresses other aspects of the entity’s business model, including affiliate and vendor relationships,

internal controls, and related account management issues.” CFPB Supervision and Exam Manual

at 318 (Sept. 2020), available at https://files.consumerfinance.gov/f/documents/cfpb_supervision-

and-examination-manual.pdf (emphasis added). The Manual also recognizes that third parties

facilitate communications between debt collectors and consumers, stating, “Based on the results

of the risk assessment of the entity, examiners should review for potential unfair, deceptive, or

abusive acts or practices . . . Document Review . . . Agreements with affiliates and third parties

that interact with consumers on behalf of the entity.” Id., at 1727-1728(l) (emphasis added); see

also id. at 1732 (“Evaluate how the entity monitors the activities of employees and third-party

contractors . . . .”). Based on all the above, it is clear the CFPB anticipates that debt collectors

employ the use of third-party vendors, including letter vendors.

               2. The CFPB Explicitly Authorized the Use of Letter Vendors in Finalizing
                  Regulation F, 12 C.F.R. Part 1006

       In addition to acknowledging that debt collectors utilize letter vendors through its exam

modules and manuals, CFPB has used its rulemaking authority to reaffirm the debt collector’s use

of vendors in their day to day operations. In October and December of 2020, CFPB finalized

amendments to Regulation F, 12 C.F.R. Part 1006, in an attempt to provide guidance to debt

collectors while bringing the FDCPA into an era of modern communications.                Before the

publication of Regulation F, the CFPB undertook considerable research of the vendors and service

providers supporting the debt-collection industry. To complete its research, the CFPB interviewed

not only debt collectors but also many outside vendors who provide products, services, and
                                            30
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 41 of 50




technology in connection with debt collection. During its seven-year rule making process, the

CFPB published numerous documents that assumed the collection industry relies on vendors,

including letter vendor. In its 650-page rulemaking notice, the CFPB endorsed the industry’s

reliance on vendors because they help debt collectors comply with their FDCPA obligations. See

Debt Collection Practices (Regulation F), 86 FR 5766 at 5845 (January 19, 2021).

       In Regulation F, the CFPB is clear that a debt collector may use that vendor’s mailing

address as its own when satisfying the collector’s obligation to disclose its mailing address to

consumers. See 12 C.F.R. § 1006.34(c)(4)(iii); see also, Debt Collection Practices (Regulation F),

86 FR 5766, 5801 (“[A] debt collector may disclose a vendor’s mailing address, if that is an address

at which the debt collector accepts disputes and requests for original-creditor information.”). The

CFPB further contemplates that consumers will send disputes and information requests regarding

their debts to debt collectors using the vendor’s mailing address. Debt Collection Practices

(Regulation F), 86 FR 5766, 5818 (“Thus, under the final rule, a debt collector may include a

vendor’s address in the consumer-response information if that is the address that the debt collector

discloses pursuant to § 1006.34(c)(2)(i).”)

       Indeed, the CFPB explicitly referenced debt collectors’ use of letter vendors in connection

with the dissemination of debt validation notices, stating as follows:

               The provision will require debt collectors to reformat their
               validation notices to accommodate the validation information
               requirements. The Bureau expects that any one-time costs to debt
               collectors of reformatting the validation notice will be relatively
               small, particularly for debt collectors who rely on vendors, because
               the Bureau expects that most vendors will provide an updated notice
               at no additional cost. The Bureau understands from its outreach that
               many covered persons currently use vendors to provide validation
               notices. [ . . . ] Debt collectors and vendors will bear costs to
               understand the requirements of the provision and to ensure that their
               systems generate notices that comply with the requirements,

                                                31
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 42 of 50




               although these costs will be mitigated somewhat by the availability
               of a model notice.

Debt Collection Practices (Regulation F), 86 FR 5766 at 5845 (January 19, 2021)

       Because vendors help debt collectors comply with their debt collection and consumer

protection obligations, Regulation F expressly recognizes and endorses debt collectors’ use of

letter vendors. Additionally, in response to concerns that Regulation F’s call restrictions were too

restrictive, the CFPB recognized that debt collectors could “reduce the number of calls needed to

establish a [right party contact] by purchasing higher-quality contact information from data

vendors.” Debt Collection Practices (Regulation F), 85 FR 76734-01, 76874 (Nov. 30, 2020). The

CFPB not only knows collectors utilize vendors, but expressly encourages them to do so.

               3. The Federal Trade Commission Similarly Has Not Found that the Use of
                  Vendors Violates the FDCPA

       Like the CFPB, the FTC has also been empowered to enforce and regulate debt collectors

under the FDCPA. The FTC has been specifically in favor of its approval of the use of mail

vendors. The FTC is authorized to bring enforcement actions for violators of 1692c(b), and at no

point the Commission characterized a debt collector’s provision of information to one of its

vendors as a violation of the FDCPA. Recognizing a debt collector’s need to convey debt-related

information through mediums such as telephone operators and telegraph clerks without violating

§ 1692c(b), the FTC issued staff commentary confirming that conveyances incident to the use of

those mediums do not violate § 1692c(b). Statements of General Policy or Interpretation Staff

Commentary On the Fair Debt Collection Practices Act, 53 FR 50097-02. That commentary also

mentioned “[A] debt collector’s agent may give the [validation] notice, as long as it is clear that

the information is being provided on behalf of the debt collector.” Id. at 50108.



                                                32
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 43 of 50




       The FTC has also recognized several other examples, where incidental communications

with third parties do not run afoul of the FDCPA. For example, the FTC has said that the FDCPA

does not prohibit third party communications necessary to conduct debt collection litigation

activities, such as an attorney for the creditor communicating with a potential witness in order to

establish the existence of a debt. See FTC Staff Commentary § 805(b), cmt 8 (Dec. 13, 1988).

Another example is where the FTC allowed the use of a vendor who translated from English to

Spanish as a permissible third-party communication. See FTC Opinion, LeFevre to Zbrzeznj

(Sept. 21, 1992). In the context of telegrams, discussed above, the FTC advised that “A debt

collector may contact an employee of a telephone or telegraph company in order to contact the

consumer, without violating the prohibition on communication to third parties, if the only

information given is that necessary to enable the collector to transmit the message to the

consumer.” FTC Staff Commentary, § 805(b), cmt. 3. None of these comments suggest that the

FTC saw such contacts with vendors as violations of the law.

               4. This Court Should Employ Deference to the CFPB and FTC in Holding
                  these Contacts to be Permissible

       When Congress has delegated rulemaking authority to an agency, and the regulation at

issue was promulgated in the exercise of that authority, the regulation is binding in the courts

unless procedurally defective, arbitrary or capricious in substance, or manifestly contrary to the

statute. United States v. Mead Corp., 533 U.S. 218, 227 (2001) (citing Chevron, U.S.A., Inc. v.

Nat. Res. Def. Council, Inc., 467 U.S. 837, 843–44 (1984). For the case at issue, there is a question

of clarity and ambiguity in the proper reading of § 1692c(b). Thus, this Court should defer to the

CFPB and the FTC, who have clearly operated as if the use of such vendors is legal, and whom

the agencies have encouraged debt collectors to utilize.


                                                 33
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 44 of 50




       Even if this Court does not afford Chevron deference, at a minimum, this Court should

accord the above excerpts of Regulation F and the findings of the CFPB, as well as the findings of

the FTC deference under Skidmore v. Swift & Co., 323 U.S. 134, 139-140 (1944); see, e.g., Mead

Corp., 533 U.S. at 234 (“[A]n agency interpretation may merit some deference whatever its form,

given the specialized experience and broader investigations and information available to the

agency and given the value of uniformity in its administrative and judicial understandings of what

a national law requires.”) (internal citations and quotations omitted). Tasked with the authority

and resources to do so, the CFPB and FTC have spent years researching, guiding, and enforcing

consumer protection laws like the FDCPA. At no point have they indicated that the use of vendors

like letter vendors violate the FDCPA as unauthorized third-party contacts. This Court should

defer to their expertise and knowledge and hold that such communications are not FDCPA

violations.

       F.      Plaintiff’s Interpretation of the FDCPA Would Have Disastrous Policy
               Implications

       If the Court were to agree with Plaintiff’s interpretation of § 1692c(b) and prohibit the use

of third-party mail vendors by debt collectors, the Court would upend a common practice in the

Consumer Financial Services industry without advancing any legislative purpose or overarching

concern with consumer privacy. In its fact-gathering rulemaking process in putting together

Regulation F, the CFPB found that 85% of collectors employed the use of mail vendors. Debt

Collection Practices (Regulation F), 84 FR 23274, 23386, n. 684. Letter vendors ensure that the

compliance decisions of management are implemented and protected through mechanisms that

guarantee accurate delivery of content and prevent alteration of, or interference with otherwise-

compliant letters. Similarly, voice analytics vendors use complex software to review the words

used in calls, ensuring that collectors are not engaging in the sort of abusive and threatening
                                               34
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 45 of 50




practices that led to the enactment of the FDCPA. Further, cloud vendors provide reliable, secure

data storage that guards against data breaches and disaster-related losses of data that would impair

the accuracy of consumer accounts. It is not just debt collectors using mail vendors where personal

information about the recipient is shared with the vendor. This happens with banks as well who

use mail vendors to send out statements, insurance companies to provide information about

coverage and premiums, election campaigns, and labor unions.

       Such an interpretation could be read to expose debt collectors to liability for the use of

virtually any third-party vendor during the debt collection life cycle, including, perhaps, payment

processors. After all, a debt collector sending consumer information to a third-party company for

the performance any function relating to debt collection, no matter how ministerial or pro-

consumer, would arguably also “concern,” be in “with reference to,” or “b[ear] a relationship or

association to” its collection of [the] debt. See Hunstein, 994 F.3d at 1349. (citation omitted). If

the sending of consumer information to a third party for purposes of printing a letter is sufficient

for § 1692c(b) liability, then the same could be true of sending the consumer information to a

payment processor for purposes of processing a payment that the consumer requests to make

electronically. Read this way, the FDCPA would drastically limit a consumer’s payment options,

including forcing collectors to offer inconvenient products to make payments or possibly mandate

the use of cash payments. Debt collectors would also likely be forced to bring additional

employees and functions in-house. A collector would also have to expand resources and spend

money on new employees with expertise or require complex training. A debt collector cannot, for

example, simply initiate entry into the ACH network on its own as the Nacha rules and regulations

require that an ACH member bank enter into a written agreement with any entity who seeks to

initiate credits and debts electronically. See 2021 Nacha Operating Guidelines, § 6.50.

                                                35
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 46 of 50




       Other industries would be at risk as a result of the extensive reach of such a ruling. For

example, the healthcare industry would be crippled as the prohibition on the use of vendors by

collectors would impede the recovery of amounts due to medical providers necessary to pay its

ongoing expenses. The Affordable Care Act requires a hospital organization to make reasonable

efforts to determine whether an individual is eligible for assistance under the hospital

organization’s financial assistance policy before engaging in Extraordinary Collection Actions i.e.

institute debt collection activity. By removing the ability to outsource sending statements, delayed

mailings will occur that would directly harm patients who could have qualified for assistance but

were unable to due to missing certain deadlines. This would create scenarios where hospitals are

tied up handling collection matters as opposed to focusing on providing healthcare services.

Additionally, a hospital could not communicate with its patients to take advantage of various forms

of debt financial assistance, which benefits both consumers and medical providers.

       Medical providers are already required to take certain precautions under HIPAA, which

contemplates the type of third-party disclosure at issue here and has set guidelines for it. Most

healthcare providers and health plans do not carry out all of their activities and functions by

themselves. The Privacy Rule allows covered providers and health plans to disclose protected

health information to these “business associates” if the providers or plans obtain satisfactory

assurances that the associate will use the information only for the purpose for which it was engaged

by the covered entity. Covered entities may disclose protected health information to an entity in

its role as a business associate only to help the covered entity carry out its healthcare functions—

not for the business associate’s independent use or purposes, except as needed for the proper

management and administration of the business associate. 45 C.F.R. § 164.502. Contracts

involved here contain protective language to enforce these privacy interests.

                                                36
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 47 of 50




       A prohibition on vendors would affect nearly every bank, credit union, finance company,

and loan servicer. Vendor-performed tasks were designed with pro-consumer goals, such as

preventing foreclosure, limiting property abandonment, and preventing lapses in tax payments and

property insurance coverage. Generally, it lowers costs for consumers. Loan servicers will have

to reconsider whether they can engage third parties such as housing counselors, tax-and-insurance

monitoring services, and property maintenance companies without violating the FDCPA. Under

Plaintiff’s interpretation, Section 1692c(b) severely restricts loan servicers and debt collectors’

ability to service loans and collect debts by prohibiting them from employing business partners

and vendors. As the Federal Reserve Bank of New York explained, such restrictions on debt

collection practices harm creditors and consumers—particularly consumers who have the greatest

need for credit. See generally Fed. Reserve Bank of N.Y., Staff Report No. 814 (May 2017).

       In 43 years, no circuit court, prior to the recently vacated Hunstein opinion, found the

harmless practice of using letter vendors to be a violation of the FDCPA. This is an established

industry practice that has been audited by the CFPB and FTC for years. The industry has relied on

agencies to provide commentary and guidance to its practices and those agencies have found no

concerns. Instead, a ruling prohibiting the practice could cost millions of dollars for businesses

across industries to, among other consequences, bring its mailing operations in house, including

installing industrial sized automated printers, paper cutters, paper folders, and envelope stuffers,

which would require it to also expand its physical location to house these machines.

       Last, permitting such claims would open numerous entities to unlimited legal liability.

Such a ruling would “create [further] incentives to file lawsuits even where no actual harm has

occurred,” often with the vexatious aim of securing only attorney’s fees. Jerman v. Carlisle,

McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 616 (2010) (Kennedy, J., dissenting). The

                                                37
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 48 of 50




FDCPA provides for statutory damages of up to $1,000 per violation, 15 U.S.C. § 1692k(a)(1),

(2)(A), allows successful plaintiffs to collect attorneys’ fees, Id. at § 1692k(a)(3), and permits class

actions, Id. at § 1692k(a)(2)(B)., opening the door to possible damages of up to the lesser of 1%

of a defendant’s net worth or $500,000.

        In a recent opinion, Judge Gary Brown in the United States District Court for the Eastern

District of New York dismissed several copy-cat letter vendor cases on standing grounds,

following the Ramirez decision.        Judge Brown also spent a large portion of the opinion

acknowledging the absurd results of permitting such actions, compiling similar observations from

his fellow colleagues on the bench. He wrote:

                Plaintiff’s attorney’s willingness to advance such a far-fetched legal
                theory is due, in all likelihood, to the provisions in the consumer
                protection statute at issue affording statutory damages without proof
                of harm and the availability of class action treatment. Congress
                enacted the FDCPA in order to combat egregious abuses of debtors,
                abuses that are real and troubling. It is almost as troubling, however,
                for an attorney to take unreasonable advantage of Congress’s good
                intentions and the sound legislation it has enacted.

In re FDCPA Mailing Vendor Cases, __ F. Supp. 3d __, 2021 WL 3160794, at *2 (E.D.N.Y. July

23, 2021) (quoting Turner v. Asset Acceptance, LLC, 302 F. Supp. 2d 56, 59 (E.D.N.Y. 2004)).

        Judge Brown added, “These cases are often brought for the non-salutary purpose of

squeezing a nuisance settlement and a pittance of attorneys’ fees out of a collection company,

which it will often find cheaper to pay than to litigate. A cottage industry among limited players—

plaintiffs’ lawyers, debtors, and even defendants’ lawyers—appears to be the primary progeny of

the statute.” In re FDCPA Mailing Vendor Cases, 2021 WL 3160794, at *2 (quoting Huebner v.

Midland Credit Mgmt., Inc., 85 F. Supp. 3d 672, 673 (E.D.N.Y. 2015)). Judge Brown identified

that “the promise of easy settlement and attorneys’ fees” have incentivized plaintiffs’ attorneys to

apply “considerable imagination in devising theories of violation.” In Re FDCPA Mailing Vendor
                                               38
    Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 49 of 50




Cases, 2021 WL 3160794, at *3. Citing the Supreme Court’s decision in Ramirez, the court

summarily dismissed several letter vendor actions. In re FDCPA Mailing Vendor Cases, 2021

WL 3160794, at *8.

                                      IV.   CONCLUSION

       Wherefore, Defendant respectfully requests that this Court grant Defendant’s Motion for

Partial Judgment on the Pleadings and dismiss Plaintiff’s claim under 15 U.S.C. § 1692c(b) of the

Fair Debt Collection Practices Act.

                                                    Respectfully submitted,

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                                               39
   Case 4:21-cv-03153 Document 17 Filed on 12/13/21 in TXSD Page 50 of 50




                                  CERTIFICATE OF
                                     SERVICE


        I, the undersigned, do hereby certify that on this 13th day of December, 2021, I
electronically transmitted the document to the U.S. District Court for the Southern District of
Texas Clerk’s office using the CM/ECF System for filing and transmittal of Notice of Electronic
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                                             40
